 Case 1:19-cv-00693-NLH-AMD Document 1 Filed 01/18/19 Page 1 of 7 PageID: 1



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

OWEN HARTY, Individually,                :
                                         :
               Plaintiff,                :
                                         :
v.                                       :              Case No.
                                         :
WRDH MT. LAUREL LLC, A New Jersey        :
Limited Liability Company,               :
                                         :
               Defendant.                :
________________________________________ :

                                         COMPLAINT
                                  (Injunctive Relief Demanded)

       Plaintiff, OWEN HARTY, Individually, on his behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues Defendant,

WRDH MT. LAUREL LLC, A New Jersey Limited Liability Company, (referred to hereinafter

as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.     Plaintiff is a Florida resident, lives in Broward County, is sui juris, and qualifies as an

       individual with disabilities as defined by the ADA. Plaintiff is unable to engage in the

       major life activity of walking. Instead, Plaintiff is bound to ambulate in a wheelchair.

2.     Plaintiff is an advocate of the rights of similarly situated disabled persons and is a "tester"

       for the purpose of asserting his civil rights and monitoring, ensuring, and determining

       whether places of public accommodation and their websites are in compliance with the

       ADA.

3.     Defendant owns, leases, leases to, or operates a place of public accommodation as

       defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and
 Case 1:19-cv-00693-NLH-AMD Document 1 Filed 01/18/19 Page 2 of 7 PageID: 2



     36.104. The place of public accommodation that Defendant owns, operates, leases or

     leases to is a place of lodging known as The Hotel ML, and is located in the County of

     Burlington, (hereinafter "Property").

4.   Venue is properly located in the DISTRICT OF NEW JERSEY because venue lies in the

     judicial district of the property situs.    Defendant’s property is located in and does

     business within this judicial district.

5.   Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

     jurisdiction over actions which arise from Defendant’s violations of Title III of the

     Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201

     and § 2202.

6.   As the owner, lessor, lessee, or operator of the subject premises, Defendant is required to

     comply with the ADA. As such, Defendant is required to ensure that its place of lodging

     is in compliance with the standards applicable to places of public accommodation, as set

     forth in the regulations promulgated by the Department Of Justice. Said regulations are

     set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

     Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated by

     reference into the ADA. These regulations impose requirements pertaining to places of

     public accommodation, including places of lodging, to ensure that they are accessible to

     disabled individuals.

7.   More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following requirement:

             Reservations made by places of lodging. A public accommodation that owns,
             leases (or leases to), or operates a place of lodging shall, with respect to
             reservations made by any means, including by telephone, in-person, or through a
             third party -
                     (i) Modify its policies, practices, or procedures to ensure that individuals
                     with disabilities can make reservations for accessible guest rooms during
 Case 1:19-cv-00693-NLH-AMD Document 1 Filed 01/18/19 Page 3 of 7 PageID: 3



                     the same hours and in the same manner as individuals who do not need
                     accessible rooms;
                     (ii) Identify and describe accessible features in the hotels and guest rooms
                     offered through its reservations service in enough detail to reasonably
                     permit individuals with disabilities to assess independently whether a
                     given hotel or guest room meets his or her accessibility needs;
                     (iii) Ensure that accessible guest rooms are held for use by individuals
                     with disabilities until all other guest rooms of that type have been rented
                     and the accessible room requested is the only remaining room of that type;
                     (iv) Reserve, upon request, accessible guest rooms or specific types of
                     guest rooms and ensure that the guest rooms requested are blocked and
                     removed from all reservations systems; and
                     (v) Guarantee that the specific accessible guest room reserved through its
                     reservations service is held for the reserving customer, regardless of
                     whether a specific room is held in response to reservations made by
                     others.

8.    These regulations became effective March 15, 2012.

9.    Defendant, either itself or by and through a third party, implemented, operates, controls

      and or maintains a website for the Property which contains an online reservations system.

      This website is located at http://thehotelml.com and

      https://reservations.travelclick.com/75547?Rooms=1&HotelID=75547&LanguageID=1&

      DateIn=&Length=1&Adults=1&Children=0#/datesofstay. This term also includes all

      websites owned and operated by Defendant or by third parties to book or reserve guest

      accommodations at the hotel. The purpose of this website is so that members of the

      public may reserve guest accommodations and review information pertaining to the

      goods, services, features, facilities, benefits, advantages, and accommodations of the

      Property. As such, this website is subject to the requirements of 28 C.F.R. Section

      36.302(e).

10.   Prior to the commencement of this lawsuit, Plaintiff visited the website for the purpose of

      reviewing and assessing the accessible features at the Property and ascertain whether they

      meet the requirements of 28 C.F.R. Section 36.302(e) and his accessibility needs.
 Case 1:19-cv-00693-NLH-AMD Document 1 Filed 01/18/19 Page 4 of 7 PageID: 4



      However, Plaintiff was unable to do so because Defendant failed to comply with the

      requirements set forth in 28 C.F.R. Section 36.302(e). As a result, Plaintiff was deprived

      the same goods, services, features, facilities, benefits, advantages, and accommodations

      of the Property available to the general public.

11.   In the near future, Plaintiff intends to revisit Defendant's website and/or online

      reservations system in order to test it for compliance with 28 C.F.R. Section 36.302(e)

      and/or to utilize the website to reserve a guest room and otherwise avail himself of the

      goods, services, features, facilities, benefits, advantages, and accommodations of the

      Property.

12.   Plaintiff is continuously aware that the subject website remains non-compliant and that it

      would be a futile gesture to revisit the website as long as those violations exist unless he

      is willing to suffer additional discrimination.

13.   The violations present at Defendant's website infringe Plaintiff's right to travel free of

      discrimination and deprive his of the information required to make meaningful choices

      for travel. Plaintiff has suffered, and continues to suffer, frustration and humiliation as

      the result of the discriminatory conditions present at Defendant's website. By continuing

      to operate a website with discriminatory conditions, Defendant contributes to Plaintiff's

      sense of isolation and segregation and deprives Plaintiff the full and equal enjoyment of

      the goods, services, facilities, privileges and/or accommodations available to the general

      public. By encountering the discriminatory conditions at Defendant's website, and

      knowing that it would be a futile gesture to return to the website unless he is willing to

      endure additional discrimination, Plaintiff is deprived of the same advantages, privileges,

      goods, services and benefits readily available to the general public. By maintaining a
 Case 1:19-cv-00693-NLH-AMD Document 1 Filed 01/18/19 Page 5 of 7 PageID: 5



      website with violations, Defendant deprives Plaintiff the equality of opportunity offered

      to the general public.

14.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result of

      Defendant’s discrimination until Defendant is compelled to modify its website to comply

      with the requirements of the ADA and to continually monitor and ensure that the subject

      website remains in compliance.

15.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination from

      Defendant’s non-compliance with the ADA with respect to this website. Plaintiff has

      reasonable grounds to believe that he will continue to be subjected to discrimination in

      violation of the ADA by Defendant.

16.   Defendant has discriminated against Plaintiff by denying him access to, and full and

      equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

      accommodations of the subject website.

17.   Plaintiff and all others similarly situated will continue to suffer such discrimination,

      injury and damage without the immediate relief provided by the ADA as requested

      herein.

18.   Defendant has discriminated against Plaintiff by denying him access to full and equal

      enjoyment of the goods, services, facilities, privileges, advantages and/or

      accommodations of its place of public accommodation or commercial facility in violation

      of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, Defendant continues

      to discriminate against Plaintiff, and all those similarly situated by failing to make

      reasonable modifications in policies, practices or procedures, when such modifications

      are necessary to afford all offered goods, services, facilities, privileges, advantages or
 Case 1:19-cv-00693-NLH-AMD Document 1 Filed 01/18/19 Page 6 of 7 PageID: 6



      accommodations to individuals with disabilities; and by failing to take such efforts that

      may be necessary to ensure that no individual with a disability is excluded, denied

      services, segregated or otherwise treated differently than other individuals because of the

      absence of auxiliary aids and services.

19.   Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff

      has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

      litigation expenses from Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

20.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

      Injunctive Relief, including an order to require Defendant to alter the subject website to

      make it readily accessible and useable to Plaintiff and all other persons with disabilities

      as defined by the ADA and 28 C.F.R. Section 36.302(e); or by closing the website until

      such time as Defendant cures its violations of the ADA.

      WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.     Injunctive relief against Defendant including an order to revise its website to

             comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor

             and maintain the website to ensure that it remains in compliance with said

             requirement.

      c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. §

             12205.

      d.     Such other relief as the Court deems just and proper, and/or is allowable under
             Title III of the Americans with Disabilities Act.
 Case 1:19-cv-00693-NLH-AMD Document 1 Filed 01/18/19 Page 7 of 7 PageID: 7




                                        Respectfully Submitted,

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